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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                      )
In re:                                                ) Chapter 11
                                                      )
MALLINCKRODT PLC, et al.,                             ) Case No. 20-12522 (JTD)
                                                      )
                   Debtors.                           ) (Jointly Administered)
                                                      )
                                                          Re: Docket No. 8192
                                                      )

                       ORDER SCHEDULING OMNIBUS HEARING DATE

         Pursuant to Del. Bankr. L.R. 2002-1(a), the Court has scheduled the following hearing date

in the above-captioned chapter 11 cases:

          Date & Time                                Location

October 26, 2022 at 2:00 p.m. (ET)           U.S. Bankruptcy Court for the District of Delaware
                                             824 North Market Street, 5th Floor, Courtroom 5
                                             Wilmington, Delaware 19801




         Dated: September 15th, 2022                    JOHN T. DORSEY
         Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE




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